Case 2:05-cr-20109-STA Document 24 Filed 07/22/05 Page 1 of 3 Page|D 27

IN THE UNITED STATES DIS'I'RICT COURT ama BY "“" D°c'

 

FoR THE wEsTERN DISTRICT oF TENNESSE
wEsTERN DIvIsIoN 155 JUL 22 PH l= 59
]H)W‘SMGOUD
CLEKU.S asm§crocm
UNITED STATES oF AMERICA »M)OF W,-»‘MPHIS

Plaintiff,

[05,,2010‘1\
Criminal No. 255§ ¢ngzéng

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(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTIN`UANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Seotember 23. 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

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1-\.:\¢. Hqc\!m¢mt entered on the docket Sh, 50 .
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So oRDERED this 22nci day of July, 2005.

€M>CCQQ»

JO PHIPPS MCCALLA
'I`ED STATES DISTR.ICT JUDGE

M fw

Assistant United States Attorney

 

 

 

 

 

 

/7
Counsel for%§é?§ndant(s)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20109 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honcrable J on McCalla
US DISTRICT COURT

